Case 1:02-cV-01282-.]DB-tmp Document 30 Filed 05/06/05 Page 1 of 3 Page|D 49

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IN THE UNITED sTATES DISTRICT COURT \\ 00
FOR THE WESTERN DISTRJCT oF TENNESSEE 053/4},__ s
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. r,;C/{SON ,
Plaintiff,
v. No. 02-1282-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for ali discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation.

IT IS SO ORDERED this GL day of May, 2005.

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J. DANIEL BREEN`
NIT D sTATEs DISTRICT JUDGE

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Honorable .1. Breen
US DISTRICT COURT

